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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF VERMONT



                                                                                             FILED
In re:   ORDER EXTENDING USE OF VIDEO AND
                                                                                     U.S. DISTRICT COURT
         TELEPHONE CONFERENCING UNDER THE                                            SEPTEMBER 25, 2020
         EXIGENT CIRCUMSTANCES CREATED BY
         THE COVID-19 EMERGENCY
                                                                                     Case No. 5:20-mc-106


                                  GENERAL ORDER NO. 93


This order extends the authorization for the use of video and telephone conferencing technology
in light of the continuing COVID-19 emergency.
By General Order No. 92 dated June 24, 2020, the court authorized the extension of the use of
video and telephone hearings in criminal cases through September 28, 2020. Pursuant to the
authority granted in the CARES Act, H.R. 748, the court extends the authorization for an
additional 90 days, through December 27, 2020.
Video access from detention facilities continues to be widely available and in use through the
Zoom platform. Similarly, video access for defense counsel, prosecutors, and released
defendants is available. Audio hearings continue to be authorized, but video is preferred.
Defendants continue to have the right to appear in open court. A video or audio hearing in a
criminal case requires the consent of the defendant.
Video attendance is also available to members of the media and members of the public upon
request. Photography (including screen shots) or recording of court hearings and publication or
broadcast of images or audio of these hearings remain contrary to court rules and will lead to a
loss of access to the video or audio hearing. See F.R.Cr.P. 53; Local Civil Rule 83.2(b).
The authorization to use video and audio includes civil motion hearings and hearings in
bankruptcy cases.
Jury trials in criminal and civil cases have resumed effective September 1, 2020. The presiding
judge exercises discretion as to the scheduling and conduct of a trial. The judge, court staff, and
counsel will engage in advance planning for each trial in order to conduct the trial in the safest
manner possible.
Dated at Burlington, in the District of Vermont, this 25th day of September, 2020.




                                     ___________________
                                     Geoffrey W. Crawford
                                          Chief Judge
